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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )   Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket Nos. 550

                          THIRD NOTICE OF REJECTION OF
               CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                             PARTIES RECEIVING THIS
                  NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
              CONTRACTS ON EXHIBIT 1 OR LEASES ON EXHIBIT 2 ATTACHED
             HERETO AND READ THE CONTENTS OF THIS NOTICE CAREFULLY.

             PLEASE TAKE NOTICE that on September 14, 2023, the United States Bankruptcy
                                                                                                                  2
Court for the District of Delaware (the “Court”) entered an order on the motion (the “Motion”) of

debtors and debtors in possession (the “Debtors”), approving procedures for the rejection of

executory contracts and unexpired leases and granting related relief [Docket No. 550]

(the “Procedures Order”).

             PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

written notice (this “Third Rejection Notice”), the Debtors hereby notify you that they have

determined, in the exercise of their business judgment, that each contract (each, a “Contract” and




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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                                                                      3
collectively, the “Contracts”) set forth on Exhibit 1 attached hereto and each lease (each,
                                                                               4
a “Lease” and collectively, the “Leases”) set forth on Exhibit 2 attached hereto is hereby rejected

effective as of the date set forth in Exhibit 1 and Exhibit 2, as applicable (the “Rejection Date”),

or such other date as the Debtors and the counterparty or counterparties to any such Contract or

Lease agree.

        PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

rejection of any of the Contracts or Leases must file and serve a written objection so that such

objection is filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually

received by the following parties no later than fourteen (14) calendar days after the date that the

Debtors served this Notice: (i) the Debtors, Yellow Corporation, 11500 Outlook Street, Suite 400,

Overland Park, Kansas 66211, Attn.: General Counsel; (ii) counsel to the Debtors, (A) Kirkland

& Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.: Whitney Fogelberg

(whitney.fogelberg@kirkland.com) and Rob Jacobson (rob.jacobson@kirkland.com) and

Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson B.

Smith (allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP, 919 North

Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn.: Laura Davis Jones

(ljones@pszjlaw.com),           Timothy        P.    Cairns      (tcairns@pszjlaw.com),            Peter      J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of the United

States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington,

Delaware 19801, Attn.:            Jane Leamy (jane.m.leamy@usdoj.gov) and Richard Schepacarter


3
    The Debtors reserve the right to remove any Contract or to amend any Rejection Date set forth on Exhibit 1 at
    any time prior to the later of the Rejection Date or the date of entry of an order of the Court approving the rejection.
4
    The Debtors reserve the right to remove any Lease or to amend any Rejection Date set forth on the Exhibit 2 at
    any time prior to the later of the Rejection Date or the date of entry of an order of the Court approving the rejection.


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(richard.schepacarter@usdoj.gov); (iv) counsel to the Committee, (A) Akin Gump Strauss Hauer

& Feld LLP, One Bryant Park, Bank of America Tower, New York, NY 10036-6745 US,

Attn.: Philip      C.     Dublin       (pdublin@akingump.com),       Meredith        A.      Lahaie

(mlahaie@akingump.com), and Kevin Zuzolo (kzuzolo@akingump.com) and (B) co-counsel to

the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North Market Street,

Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover (jhoover@beneschlaw.com) and

Kevin M. Capuzzi (kcapuzzi@beneschlaw.com); (v) counsel to the Junior DIP Lender, (A) Quinn

Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th Floor, Los Angeles, CA 90017,

Attn.: Eric Winston (ericwinston@quinnemanuel.com) and 51 Madison Avenue, 22nd Floor,

New York, NY 10010, Attn.:          Susheel Kirplani (susheelkirpalani@quinnemanuel.com) and

(B) Ropes & Gray LLP, 191 North Wacker Drive, 32nd Floor, Chicago, IL 60606, Attn.: Lucas S.

Smith (Luke.Smith@ropesgray.com) and 1211 Avenue of the Americas, New York, NY 10036,

Attn.: Natasha S. Hwangpo (Natasha.Hwangpo@ropesgray.com); (vi) counsel to the Junior DIP

Agent, Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago, IL 60606,

Attn.: Joshua      M.   Spencer     (Joshua.Spencer@hklaw.com)     and     Phillip     W.    Nelson

(Phillip.Nelson@hklaw.com); (vii) counsel to the B-2 Lenders, White & Case LLP, 1221 Avenue

of the Americas, New York, NY 10020 Attn.: Scott Greissman (sgreissman@whitecase.com),

Elizabeth Feld (efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com); (viii) counsel

to the Prepetition ABL Agent, Choate, Hall & Stewart LLP, Two International Place, Boston, MA

02110,    Attn.:        Kevin      Simard   (ksimard@choate.com)     and     Hampton        Foushee

(hfoushee@choate.com); (ix) counsel to the B-2 Agent, Holland & Knight LLP, 50 N. Riverside

Plaza, Suite 2700, Chicago IL 60606, Attn.: Joshua M. Spencer (Joshua.Spencer@hklaw.com)

and Phillip W. Nelson (Phillip.Nelson@hklaw.com); (x) counsel to the Prepetition UST Tranche


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A Agent, Hogan Lovells US LLP, 390 Madison Avenue, New York, New York 10017,

Attn.: Ronald J. Silverman and Christopher R. Bryant; (xi) counsel to the Prepetition UST

Tranche B Agent, Hogan Lovells US LLP, 390 Madison Avenue, New York, NY 10017,

Attn.: Ronald J. Silverman (ronald.silverman@hoganlovells.com) and Christopher R. Bryant

(chris.bryant@hoganlovells.com); (xii) counsel to the United States Department of the Treasury,

Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite 4200, Chicago, IL 60602,

Attn.: Michael Messersmith (michael.messersmith@arnoldporter.com), 250 West 55th Street,

New York, NY 10019, Attn.:                 Benjamin Mintz (benjamin.mintz@arnoldporter.com), and

601 Massachusetts        Ave.,     N.W.,      Washington,        DC     20001,      Attn.:       Rosa      Evergreen

(rosa.evergreen@arnoldporter.com); and (xiv) the United States Department of Justice, 1100 L

St NW Rm 7102, Washington, DC 20005-4035, Attn.: I-Heng Hsu (I-Heng.Hsu@usdoj.gov) and

Crystal Geise (Crystal.Geise@usdoj.gov). Only those responses that are timely filed, served, and

received will be considered at any hearing.

        PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

rejection of each Contract and Lease shall become effective on the Rejection Date set forth in

Exhibit 1 and Exhibit 2, as applicable, or such other date as the Debtors and the counterparty or
                                                         5
counterparties to such Contract or Lease agree.

        PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

Contract or Lease is timely filed and not withdrawn or resolved, the Debtors shall file a notice for




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    An objection to the rejection of any particular Contract or Lease listed in this Third Rejection Notice shall not
    constitute an objection to the rejection of any other Contract or Lease listed in this Third Rejection Notice. Any
    objection to the rejection of any particular Contract or Lease listed in this Third Rejection Notice must state with
    specificity the Contract or Lease to which it is directed. For each particular Contract or Lease whose rejection is
    not timely or properly objected to, such rejection will be effective in accordance with this Third Rejection Notice
    and the Order.


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a hearing to consider the objection for the Contract(s) or Lease(s) to which such objection relates.

If such objection is overruled or withdrawn, such Contract(s) or Lease(s) shall be rejected as of

the Rejection Date set forth in Exhibit 1 and Exhibit 2, as applicable, or such other date as the

Debtors and the counterparty or counterparties to any such Contract or Lease agree.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

Order, if the Debtors have deposited monies with a Contract or Lease counterparty as a security

deposit or other arrangement, the Contract or Lease counterparty may not set off or recoup or

otherwise use such monies without further order of the Court, unless the Debtors and the

counterparty or counterparties to such Contracts or Leases otherwise agree.

       PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

property of the Debtors that is listed and described in Exhibit 2 shall be deemed abandoned as of

the Rejection Date. For the avoidance of doubt, any personal property that is owned by non-Debtor

third parties and is located on the premises related to any rejected non-residential real property

lease, including Rolling Stock or equipment that is leased to the Debtors, shall not be deemed

abandoned and shall remain subject to all of the rights, claims, and interests of its non-Debtor

owners.

       PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

respect to rejection of your Contract(s) and/or Lease(s), you must do so by the later of (a) the

applicable deadline for filing proofs of claim established in these chapter 11 cases and (b) thirty

(30) days after the later of (i) the effective Rejection Date and (ii) the date the Debtors relinquish

control of the premises by notifying you in writing of the Debtors’ surrender of the premises. IF

YOU FAIL TO TIMELY SUBMIT A PROOF OF CLAIM IN THE APPROPRIATE FORM BY

THE DEADLINE SET FORTH HEREIN, YOU WILL BE, FOREVER BARRED, ESTOPPED,


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AND ENJOINED FROM (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS

AND THEIR CHAPTER 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN FILED IN

THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY

DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH

CLAIM.


                   [Remainder of page intentionally left blank]




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Dated: November 29, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)   Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)   David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)      Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)        KIRKLAND & ELLIS LLP
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                                      Co-Counsel for the Debtors and Debtors in
                                      Possession
